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                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     ABUIRSHAID                                                        10/18/2018


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 1
                  IN THE UNITED STATES DISTRICT COURT
 2                   NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
 3
       STANLEY BOIM, Individually             )
 4     and as Administrator of the            )
       Estate of David Boim,                  )
 5     deceased; and JOYCE BOIM,              )
                                              )
 6                       Plaintiffs,          )
                                              )
 7           vs.                              )   Case No.
                                              )   17-cv-03591
 8     AMERICAN MUSLIMS FOR                   )
       PALESTINE; AMERICANS FOR               )
 9     JUSTICE IN PALESTINE                   )
       EDUCATIONAL FOUNDATION;                )
10     RAFEEQ JABER; ABDELBASSET              )
       HAMAYEL; AND OSAMA                     )
11     ABUIRSHAID,                            )
                                              )
12                       Defendants.          )
13
14                  The deposition of OSAMA ABUIRSHAID,
15     called by the Plaintiffs for examination, taken
16     pursuant to the Federal Rules of Civil Procedure
17     of the United States District Courts pertaining
18     to the taking of depositions, taken before
19     Marianne Nee, a Certified Shorthand Reporter of
20     the State of Illinois, CSR License No.
21     084-002341, taken at 111 South Wacker Drive,
22     Suite 4100, Chicago, Illinois, on Thursday,
23     October 18, 2018, commencing at 9:11 a.m.
24



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                                                                            18
 1     activities, setting -- working on setting the
 2     tone of AMP, trying to articulate our positions,
 3     but if we're talking about the day-to-day work,
 4     no, I was not.
 5          Q.      Is there a process on the AMP board or
 6     the AJP board now to determine idealogical
 7     positions and emphasis of the organization?
 8          A.      If I understand you correctly,
 9     idealogical, no, because you have different
10     individuals on the board with different
11     political and idealogical preferences, so no, we
12     don't have an idealogical position nor do we
13     have an idealogical affiliation.
14          Q.      I take it from time to time that
15     decisions are made about what sorts of speakers
16     should be brought to conferences and events.
17                  Is there any sort of vetting process or
18     decision-making process about what sort of
19     speakers that the organization wants to have at
20     its events?
21          A.      Well, I'm not involved -- I wasn't
22     involved in the conventions other than last year
23     I worked on the program, but I didn't have -- I
24     didn't have the full control of the program.



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 1     to me about it.          I remember that I didn't like
 2     the translation because I wanted to show it to
 3     my professor when I used to study in the
 4     university.          Now this is coming up to my mind.
 5     And I wasn't proud of it so I couldn't show it
 6     to her.
 7            Q.      Did you know Dr. Laura Drake or Mohamad
 8     Salah in connection with UASR?
 9            A.      Again the names?
10            Q.      Mohamad Salah and Dr. Laura Drake.
11            A.      Laura, I met her a couple of times.        If
12     I see her, I won't know her.            I know who she
13     was.        But Mohamad Salah, who is Mohamad Salah?
14     I don't know.
15            Q.      Were you aware of any affiliation
16     between UASR and IAP or the Holy Land
17     Foundation?
18            A.      No.
19            Q.      After IAP became financially defunct,
20     did you become affiliated with an organization
21     called KindHearts at any point in time?
22            A.      Not affiliated.     Employed.
23            Q.      Employed.
24            A.      Yeah.



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 1     BY MR. WOOLLEY:
 2          Q.      Mr. Abuirshaid, did you ever attend any
 3     of the IAP conferences?
 4          A.      Yes.
 5          Q.      Do you recall which ones you attended?
 6          A.      When I was employed, definitely I did.
 7     Before I did attend.        Now, the exact year I'm
 8     not sure, but I did attend.
 9          Q.      I'm handing you what I'm marking as
10     Plaintiffs' Exhibit 29.
11                                (Exhibit 29 was marked for
12                                identification.)
13     BY MR. WOOLLEY:
14          Q.      You don't need to read every word of
15     this, but if you could take a look at it and
16     tell me whether you have ever seen what appears
17     to be a portion of the 1999 annual conference
18     program and whether you can recall whether you
19     attended this conference?
20                  MS. JUMP:    Take your time looking at
21          it.
22     BY THE WITNESS:
23          A.      I cannot tell you with confidence.         I
24     think I did.        But this Osama here is not me by



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 1          A.      I'm not going to say well known.         I was
 2     known.
 3          Q.      How long were you at this meeting?
 4          A.      I don't know.
 5          Q.      How well did you know Salah Sarsour at
 6     that point in time?
 7          A.      I knew him pretty well.
 8          Q.      What did you tell them?
 9          A.      I remember that I didn't want to be
10     part of any work and I don't know what arguments
11     I made.      I know one thing.      I didn't want to be
12     part of anything.
13          Q.      Why was it that you didn't want to be a
14     part of it?
15          A.      Many reasons.
16          Q.      What were they?
17          A.      I didn't want to be a target.        I wanted
18     to apply for my citizenship I think at that time
19     or maybe I applied for it.          I'm not sure.     It
20     depends on the time, so -- and I didn't want to
21     be an activist.
22          Q.      Did you understand that this new
23     organization they were forming would be an
24     activist organization?



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